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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 18-1570V
                                    Filed: October 21, 2019
                                        UNPUBLISHED


    KATHLEEN BARTHOLOMEW,

                        Petitioner,                          Special Processing Unit (SPU);
    v.                                                       Ruling on Entitlement; Concession;
                                                             Table Injury; Influenza (Flu) Vaccine;
    SECRETARY OF HEALTH AND                                  Shoulder Injury Related to Vaccine
    HUMAN SERVICES,                                          Administration (SIRVA)

                        Respondent.


Ronald Craig Homer, Conway, Homer, P.C., Boston, MA, for petitioner.
Traci R. Patton, U.S. Department of Justice, Washington, DC, for respondent.

                                    RULING ON ENTITLEMENT1

Corcoran, Chief Special Master:

       On October 10, 2018, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleges that she suffered a left shoulder injury related to
vaccine administration (“SIRVA”) as a result of an influenza vaccination administered on
October 3, 2016. Petition at 1. The case was assigned to the Special Processing Unit
of the Office of Special Masters.




1I intend to post this decision on the United States Court of Federal Claims' website. This means the
decision will be available to anyone with access to the internet. In accordance with Vaccine Rule
18(b), petitioner has 14 days to identify and move to redact medical or other information, the disclosure of
which would constitute an unwarranted invasion of privacy. If, upon review, I agree that the identified
material fits within this definition, I will redact such material from public access. Because this unpublished
decision contains a reasoned explanation for the action in this case, I am required to post it on the United
States Court of Federal Claims' website in accordance with the E-Government Act of 2002. 44 U.S.C. §
3501 note (2012) (Federal Management and Promotion of Electronic Government Services).

2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
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       On October 21, 2019, respondent filed his Rule 4(c) report in which he concedes
that petitioner is entitled to compensation in this case. Respondent’s Rule 4(c) Report
at 1. Specifically, respondent “concluded that petitioner’s alleged injury is consistent
with SIRVA, as defined on the Vaccine Injury Table.” Id. at 4. Respondent further
agrees that “petitioner had no history of pain, inflammation or dysfunction in her left
shoulder prior to her October 2016 flu vaccination; her pain and reduced range of
motion occurred within 48 hours of receipt of an intramuscular vaccination; her
symptoms were limited to the shoulder in which the vaccine was administered; and no
other condition or abnormality was identified to explain her symptoms”. Id.

       In view of respondent’s position and the evidence of record, I find that
petitioner is entitled to compensation.

IT IS SO ORDERED.

                                  s/Brian H. Corcoran
                                  Brian H. Corcoran
                                  Chief Special Master




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